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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of Texas
                                          (State)                                                                                ☐ Check if this is an
Case number (if known):                                     Chapter         11                                                       amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/24
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
      number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s Name                           Vertex Energy, Inc.



2. All other names debtor
   used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer                XX-XXXXXXX
   Identification Number (EIN)

4. Debtor’s address                  Principal place of business                                       Mailing address, if different from principal
                                                                                                       place
                                                                                                       of business
                                     1331 Gemini Street, Suite 250
                                     Number             Street                                         Number         Street


                                                                                                       P.O. Box
                                     Houston                           TX        77058
                                     City                              State     Zip Code              City                         State     Zip Code

                                                                                                       Location of principal assets, if different from
                                                                                                       principal place of business
                                     Harris
                                     County                                                            Number         Street




                                                                                                       City                         State     Zip Code




5. Debtor’s website (URL)            https://www.vertexenergy.com/

6.   Type of debtor                  ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                     ☐ Partnership (excluding LLP)

                                     ☐ Other. Specify:


      Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
                     Case 24-90507 Document 1 Filed in TXSB on 09/24/24 Page 2 of 34
Debtor       Vertex Energy, Inc.                                                     Case number (if known)
           Name



                                         A. Check One:
7.   Describe debtor’s business
                                         ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                         ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                         ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                         ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                         ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                         ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         ☒ None of the above

                                         B. Check all that apply:
                                         ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                         ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                         ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                         3241 (Petroleum and Coal Products Manufacturing)

8. Under which chapter of the            Check One:
   Bankruptcy Code is the
   debtor filing?                        ☐ Chapter 7

                                         ☐ Chapter 9

                                         ☒ Chapter 11. Check all that apply:

                                                             ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                               insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on 4/01/25
                                                               and every 3 years after that).
                                                             ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor
                                                               is a small business debtor, attach the most recent balance sheet, statement of
                                                               operations, cash-flow statement, and federal income tax return or if all of these
                                                               documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses
                                                               to proceed under Subchapter V of Chapter 11.
                                                             ☒ A plan is being filed with this petition.

                                                             ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).
                                                             ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                               Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                             ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                          ☐ Chapter 12

9. Were prior bankruptcy              ☒ No              District
   cases                              ☐ Yes.                                             When      MM/DD/YYYY     Case number
   filed by or against the
   debtor within the last 8                             District                         When                     Case number
   years?                                                                                          MM/DD/YYYY
     If more than 2 cases, attach a
     separate list.




     Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 2
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Debtor     Vertex Energy, Inc.                                                       Case number (if known)
          Name



10. Are any bankruptcy cases          ☐ No
    pending or being filed by a       ☒ Yes.                                                                          Relationship     Affiliate
                                                        Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                            District    Southern District of Texas
   List all cases. If more than 1,                                                                                    When             09/24/2024
   attach a separate list.                             Case number, if known _______________________                                   MM / DD / YYYY

11. Why is the case filed in this     Check all that apply:
    district?
                                      ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or            ☒ No
    have possession of any real       ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal
    property that needs                         Why does the property need immediate attention? (Check all that apply.)
    immediate attention?
                                                ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the hazard?

                                                ☐    It needs to be physically secured or protected from the weather.

                                                ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                     (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                     options).
                                                ☐    Other


                                                Where is the property?
                                                                                          Number          Street



                                                                                          City                                 State        Zip Code



                                                Is the property insured?
                                                ☐ No

                                                ☐ Yes.     Insurance agency

                                                           Contact name
                                                           Phone




                 Statistical and administrative information

13. Debtor's estimation of           Check one:
    available funds
                                     ☐ Funds will be available for distribution to unsecured creditors.
                                     ☒ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of              ☐     1-49                       ☐     1,000-5,000                        ☐    25,001-50,000
    creditors (on a                  ☐     50-99                      ☒     5,001-10,000                       ☐    50,001-100,000
    consolidated basis)              ☐     100-199                    ☐     10,001-25,000                      ☐    More than 100,000
                                     ☐     200-999




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
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Debtor     Vertex Energy, Inc.                                                       Case number (if known)
          Name



15. Estimated assets (on            ☐      $0-$50,000                 ☐     $1,000,001-$10 million               ☒     $500,000,001-$1 billion
    a consolidated basis)           ☐      $50,001-$100,000           ☐     $10,000,001-$50 million              ☐     $1,000,000,001-$10 billion
                                    ☐      $100,001-$500,000          ☐     $50,000,001-$100 million             ☐     $10,000,000,001-$50 billion
                                    ☐      $500,001-$1 million        ☐     $100,000,001-$500 million            ☐     More than $50 billion

16. Estimated liabilities           ☐      $0-$50,000                  ☐     $1,000,001-$10 million              ☒ $500,000,001-$1 billion
    (on a consolidated              ☐      $50,001-$100,000            ☐     $10,000,001-$50 million             ☐ $1,000,000,001-$10 billion
    basis)                          ☐      $100,001-$500,000           ☐     $50,000,001-$100 million            ☐ $10,000,000,001-$50 billion
                                    ☐      $500,001-$1 million         ☐     $100,000,001-$500 million           ☐ More than $50 billion

                 Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    authorized representative of
    debtor                              I have been authorized to file this petition on behalf of the debtor.
                                        I have examined the information in this petition and have a reasonable belief that the information is true and
                                        correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                        Executed on            09/24/2024
                                                             MM/ DD / YYYY


                                                 /s/ R. Seth Bullock                                              R. Seth Bullock
                                             Signature of authorized representative of debtor               Printed name

                                             Title       Chief Restructuring Officer




18. Signature of attorney                        /s/ Jason G. Cohen                                            Date      09/24/2024
                                             Signature of attorney for debtor                                          MM/DD/YYYY



                                             Jason G. Cohen
                                             Printed name
                                             Bracewell LLP
                                             Firm name
                                             711 Louisiana Street, Suite 2300
                                             Number                 Street
                                             Houston                                                                   Texas            77002
                                             City                                                                      State              ZIP Code

                                             (713) 223-2300                                                            jason.cohen@bracewell.com
                                             Contact phone                                                                 Email address
                                             24050435                                               Texas
                                             Bar number                                          State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 4
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Official Form 201A (12/15)
                                          IN THE UNITED STATES BANKRUPTCY COURT
                                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                                      HOUSTON DIVISION

                                                                         )
    In re:                                                               )   Chapter 11
                                                                         )
    VERTEX ENERGY, INC.,                                                 )   Case No. 24-___________(___)
                                                                         )
                                      Debtor.                            )
                                                                         )
        Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

         1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
     number is   001-11476

         2. The following financial data is the latest available information and refers to the debtor’s condition on
     June 30, 2024
             (a)   Total assets                                              $   772,368,000
             (b)   Total debts (including debts listed in 2.c., below)       $   642,819,000
             (c)   Debt securities held by more than 500 holders                 0
                                                                                                  Approximate
                                                                                                  number of
                                                                                                  holders:
             secured     ☐    unsecured     ☐    subordinated      ☐     $
             secured     ☐    unsecured     ☐    subordinated      ☐     $
             secured     ☐    unsecured     ☐    subordinated      ☐     $
             secured     ☐    unsecured     ☐    subordinated      ☐     $
             secured     ☐    unsecured     ☐    subordinated      ☐     $


             (d)   Number of shares of preferred stock                                             N/A
             (e)   Number of shares of common stock                                                93,514,346


             Comments, if any:


         3. Brief description of debtor’s business: Vertex Energy, Inc., together with its subsidiaries, is an energy transition
     company and marketer of refined products and renewable fuels.

          4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
     voting securities of debtor:
     Benjamin P. Cowart; QVT Financial LP
                 Case 24-90507 Document 1 Filed in TXSB on 09/24/24 Page 6 of 34




 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                           Southern District of Texas
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                                Chapter   11                                     amended filing


                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11 of the United States
Code. The Debtors have moved for joint administration of these cases under the case number assigned to the
chapter 11 case of Vertex Energy, Inc.

    •    Vertex Energy, Inc.
    •    Bango Oil LLC
    •    Cedar Marine Terminals, LP
    •    Crossroad Carriers, L.P.
    •    Crystal Energy, LLC
    •    H&H Oil, L.P.
    •    HPRM LLC
    •    Tensile-Heartland Acquisition Corporation
    •    Tensile-Myrtle Grove Acquisition Corporation
    •    Vertex Acquisition Sub, LLC
    •    Vertex Energy Operating, LLC
    •    Vertex II GP, LLC
    •    Vertex Marine Fuel Services LLC
    •    Vertex Merger Sub, LLC
    •    Vertex Recovery Management, LLC
    •    Vertex Recovery, L.P.
    •    Vertex Refining Alabama LLC
    •    Vertex Refining LA, LLC
    •    Vertex Refining Myrtle Grove LLC
    •    Vertex Refining NV, LLC
    •    Vertex Refining Texas LLC
    •    Vertex Renewables Alabama LLC
    •    Vertex Renewables LLC
    •    Vertex Splitter Corporation
             Case 24-90507 Document 1 Filed in TXSB on 09/24/24 Page 7 of 34



                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS

                                                         )
    In re:                                               )     Chapter 11
                                                         )
    VERTEX ENERGY, INC.,                                 )     Case No. 24-___________(___)
                                                         )
                             Debtor.                     )
                                                         )

                                   LIST OF EQUITY SECURITY HOLDERS1

             Equity Holder                 Address of Equity Holder             Percentage of Equity Held

    Benjamin P. Cowart                           [Address on file]                         6.66%
                                        888 Seventh Avenue, 43rd Floor,
    QVT Financial LP                                                                       5.69%
                                             New York, NY 10106




1      This list reflects holders of five percent or more of Vertex Energy, Inc.’s common stock. This list serves
       as the disclosure required to be made by the debtor pursuant to Rule 1007 of the Federal Rules of
       Bankruptcy Procedure. By the Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the
       Debtors to (A) File a Consolidated Creditor Matrix and a Consolidated List of the 30 Largest Unsecured
       Creditors and (B) Redact Certain Personally Identifiable Information of Natural Persons; (II) Waiving
       the Requirement to File a List of Equity Security Holders; (III) Approving the Form and Manner of
       Notifying Creditors of the Commencement of the Chapter 11 Cases and Other Information; and (IV)
       Granting Related Relief, filed contemporaneously herewith, the Debtor is requesting a waiver of the
       requirement under Bankruptcy Rule 1007 to file a list of all of its equity holders.
          Case 24-90507 Document 1 Filed in TXSB on 09/24/24 Page 8 of 34



                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 VERTEX ENERGY, INC.,                                 )    Case No. 24-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                    Shareholder                           Approximate Percentage of Shares Held
                        N/A                                               N/A
                                                         Case 24-90507 Document 1 Filed in TXSB on 09/24/24 Page 9 of 34


       Fill in this information to identify the case:
       Debtor name: Vertex Energy, Inc., et al.
       United States Bankruptcy Court for the: Southern District of Texas

       Case number (If known): ______________                                                                                                                                                     Check if this is an amended
                                                                                                                                                                                                   filing

       Official Form 204
       Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
       12/15

       A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in
       11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.




         Name of creditor and complete mailing address,                     Name, telephone number, and email address of creditor contact         Nature of the claim (for   Indicate if   Amount of unsecured claim
                       including zip code                                                                                                          example, trade debts,      claim is     if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                                                                  bank loans, professional  contingent,    If claim is partially secured, fill in total claim amount and deduction
                                                                                                                                                 services, and government unliquidated, or for value of collateral or setoff to calculate unsecured claim.
                                                                                                                                                         contracts)           disputed


                                                                                                                                                                                                         Total claim, if     Deduction for value
                                                                                                                                                                                                        partially secured   of collateral or setoff   Unsecured claim
     MATHESON TRI-GAS, INC.
                                                                            MICHAEL SINICROPI
     909 LAKE CAROLYN PKWY
                                                                            PRESIDENT & COO
   1 STE 1300                                                                                                                                   Termination of Contract          Contingent; Disputed                                                 $    251,200,000
                                                                            EMAIL - MSINICROPI@MATHESONGAS.COM
     IRVING, TX 75039-4821

                                                                            CARY VANDENBERG
       IDEMITSU APOLLO RENEWABLE
                                                                            CEO
       1831 16TH STREET
   2                                                                        EMAIL - CARY.VANDENBERG.0130@IDEMITSURENEWABLES.COM                 Trade Debt                                                                                            $     16,383,335
       SACRAMENTO, CA 95811
                                                                            PHONE - (415) 230-5601

     US BANK NATIONAL ASSOCIATION                                           ALEJANDRO HOYOS
     8 GREENWAY PLAZA                                                       VP/ CORPORATE MUNICIPAL TRUST MANAGER
                                                                                                                                                6.25% Convertible Senior Notes
   3 SUITE 1100                                                             EMAIL - ALEJANDRO.HOYOS@USBANK.COM                                                                                                                                        $     15,684,785
                                                                                                                                                Due 2027
     HOUSTON, TX 77046                                                      PHONE - (408) 748-1200

     TURNER INDUSTRIES GROUP LLC                                            STEPHEN M. TOUPS
     8687 UNITED PLAZA BLVD                                                 CEO
   4 SUITE 500                                                              EMAIL - STOUPS@TURNER-INDUSTRIES.COM                                Trade Debt                       Unliquidated                                                         $       3,648,845
     BATON ROUGE, LA 70809                                                  PHONE - (225) 355-4326

                                                                            RALPH A. HARGROVE
       HARGROVE AND ASSOCIATES INC
                                                                            CEO & PRESIDENT
       20 SOUTH ROYAL STREET
   5                                                                        EMAIL - RALPH.HARGROVE@HARGROVE-EPC.COM                             Trade Debt                                                                                            $       3,271,282
       MOBILE, AL 36602-3202
                                                                            PHONE - (251) 438-6130

                                                                            EDWARD ROGALSKI
       CUST O FAB SPECIALTY SERVICES
                                                                            PRESIDENT & CEO
       8888 W 21ST ST
   6                                                                        EMAIL - EROGALSKI@CUSTOFAB.COM                                      Trade Debt                       Unliquidated                                                         $       2,298,207
       SAND SPRINGS, OK 74063-8524
                                                                            PHONE - (952) 542-9723

     KIRBY INLAND MARINE
                                                                            DAVID W. GRZEBINSKI
     55 WAUGH DRIVE
                                                                            CEO
     SUITE 1000
   7                                                                        EMAIL - DAVID.GRZEBINSKI@KIRBYCORP.COM                              Trade Debt                                                                                            $       1,302,240
     PO BOX 200788
                                                                            PHONE - (716) 674-9108
     HOUSTON, TX 77007

                                                                            HUNTER GEORGE
       AMERICAN REMEDIATION & ENVIRONMENTAL INC
                                                                            PRESIDENT
       12631 CELESTE RD
   8                                                                        EMAIL - HGEORGE@AMERICANENVINC.COM                                  Trade Debt                                                                                            $        833,950
       CHUNCHULA, AL 36521-3512
                                                                            PHONE - (251) 679-6900

                                                                            FRANK VENUTO
       TURN2 SPECIALTY COMPANIES LLC
                                                                            CFO
       3558 KILGORE PARKWAY
   9                                                                        EMAIL - FRANK.VENUTO@TURN2SC.COM                                    Trade Debt                                                                                            $        660,538
       BAYTOWN, TX 77523
                                                                            PHONE - (346) 241-0439

                                                                            TOM MARIAN
       BUFFALO MARINE SERVICE INC
                                                                            VP & GENERAL COUNSEL
       8201 E ERATH
  10                                                                        EMAIL - TOM@BUFFALOMARINE.COM                                       Trade Debt                                                                                            $        655,001
       HOUSTON, TX 77012
                                                                            PHONE - (713) 923-5571

                                                                            PETER KYRIACOPOULOS
       LEWA AMERICA INC
                                                                            PRESIDENT
       132 HOPPING BROOK ROAD
  11                                                                        EMAIL - PETER.KYRIACOPOULOS@US.ATLASCOPCO.COM                       Trade Debt                                                                                            $        604,546
       HOLLISTON, MA 01746
                                                                            PHONE - (508) 429-7403

                                                                            CHRIS ASHTON
       WORLEY GROUP INC
                                                                            CEO & MANAGING DIRECTOR
       5995 ROGERDALE RD
  12                                                                        EMAIL - CHRIS.ASHTON@WORLEY.COM                                     Trade Debt                                                                                            $        552,145
       HOUSTON, TX 77072-1601
                                                                            PHONE - (610) 834-6802

     MONUMENT CHEMICAL PORT ARTHUR, LLC                                     PAUL RAYMOND
     6510 TELECOM DR.                                                       CEO
  13 SUITE 425                                                              EMAIL - PRAYMOND@MONUMENTCHEMICAL.COM                               Trade Debt                                                                                            $        486,642
     INDIANAPOLIS, IN 46278                                                 PHONE - (409) 985-4200

     AMERICAN ENVIRONMENTAL, INC                                            HUNTER GEORGE
     12631 CELESTE RD                                                       PRESIDENT
  14 PO BOX 570                                                             EMAIL - HGEORGE@AMERICANENVINC.COM                                  Trade Debt                       Unliquidated                                                         $        460,000
     CHUNCHULA, AL 36521-3512                                               PHONE - (251) 679-6900

                                                                            TALMAN B. PIZZEY
       ACUREN INSPECTION INC
                                                                            PRESIDENT
       405 NORTH EASTMAN ROAD
  15                                                                        EMAIL - TPIZZEY@ACUREN.COM                                          Trade Debt                                                                                            $        440,902
       LONGVIEW, TX 75601-6911
                                                                            PHONE - (903) 753-2375




Official Form 204                                                                            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                           page 1
                                          Case 24-90507 Document 1 Filed in TXSB on 09/24/24 Page 10 of 34


        Name of creditor and complete mailing address,   Name, telephone number, and email address of creditor contact          Nature of the claim (for   Indicate if   Amount of unsecured claim
                      including zip code                                                                                         example, trade debts,      claim is     if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                                                bank loans, professional  contingent,    If claim is partially secured, fill in total claim amount and deduction
                                                                                                                               services, and government unliquidated, or for value of collateral or setoff to calculate unsecured claim.
                                                                                                                                       contracts)           disputed


                                                                                                                                                                                Total claim, if       Deduction for value
                                                                                                                                                                               partially secured     of collateral or setoff   Unsecured claim
     INTERTEK USA INC                                    ANDRÉ LACROIX
     200 WESTLAKE BLVD                                   CEO
  16 SUITE 400                                           EMAIL - ANDRE.LACROIX@INTERTEK.COM                                   Trade Debt                                                                                       $        370,390
     HOUSTON, TX 77079                                   PHONE - (713) 224-2047

     AQUISITION2023DCW LLC                               DIEGO CEVALLOS WILKINS
     FKA: BRIGHT STAR ENVIRONMENTAL SERVICES LLC         CEO
                                                                                                                              Subordinated Unsecured
  17 5121 S. ACRES DRIVE                                 EMAIL - DIEGO@BRIGHTSTARENVIRO.COM                                                                                                                                    $        361,118
                                                                                                                              Promissory Note
     HOUSTON, TX 77048-1115                              PHONE - (346) 980-8124

     AMERICAN INLAND MARINE VI, LLC                      AUSTIN SPERRY
     3838 NORTH CAUSEWAY BOULEVARD                       PARTNER & PRESIDENT
  18 SUITE 3335                                          EMAIL - ASPERRY@MARITIMEPARTNERSLLC.COM                              Trade Debt                                                                                       $        360,530
     METAIRIE, LA 70002                                  PHONE - (504) 264-5870

                                                         GARY DAVIDSON
       TOMAHAWK CRANE & RIGGING LLC
                                                         VP
       55 WORKMAN ROAD
  19                                                     EMAIL - GARY@TCRCRANES.COM                                           Trade Debt                    Unliquidated                                                       $        360,000
       CHATTANOOGA, TN 37410
                                                         PHONE - (423) 602-5438

     PARKER TOWING COMPANY, INC                          CHAS HAUN
     1001 3RD STREET                                     EVP
  20 PO BOX 20908                                        EMAIL - CHAUN@PARKERTOWING.COM                                       Trade Debt                                                                                       $        326,915
     NORTHPORT, AL 35476                                 PHONE - (205) 349-1677

                                                         PATRICK DOVIGI
       GFL ENVIRONMENTAL INC.
                                                         CEO
       8409 15 STREET NW
  21                                                     EMAIL - PDOVIGI@GFLENV.COM                                           Trade Debt                                                                                       $        320,474
       EDMONTON, AB T6P 0B8
                                                         PHONE - (905) 428-2755
       CANADA

     AMSPEC SERVICES LLC                                 MATTHEW J. CORR
     1249 SOUTH RIVER RD.                                CEO
  22 SUITE 204                                           EMAIL - MCORR@AMSPECGROUP.COM                                        Trade Debt                                                                                       $        311,440
     CRANBURY, NJ 08512                                  PHONE - (908) 925-7333

                                                         JACK MOLLOY
       MOTOROLA SOLUTIONS INC
                                                         EVP & COO
       1320 NORTH PLUM GROVE ROAD
  23                                                     EMAIL - C17511@MOTOROLASOLUTIONS.COM                                 Trade Debt                                                                                       $        294,265
       SCHAUMBURG, IL 60173
                                                         PHONE - (312) 614-4236

     BUCKEYE TERMINALS, LLC
                                                         GARY L. BOHNSACK, JR.
     4200 WESTHEIMER RD
                                                         CFO
     SUITE 975
  24                                                     EMAIL - GBOHNSACK@BUCKEYE.COM                                        Trade Debt                                                                                       $        288,753
     PO BOX 56169
                                                         PHONE - (832) 615-8600
     HOUSTON, TX 77027

     SELECT ENVIRONMENTAL, LLC
                                                         SOLOMON GUNYULA
     2115 CHESTERLAND AVE
  25 PO BOX 732711                                                                                                            Trade Debt                                                                                       $        278,435
                                                         PHONE - (713) 672-4500
     LAKEWOOD, OH 44107

                                                         DREW EIZENGA
       RECYCLE WEST, INC.
                                                         EVP
       5366 55 ST. SE
  26                                                     EMAIL - DEIZENGA@RECYCLEWEST.CA                                      Trade Debt                                                                                       $        270,205
       CALGARY, AB T8E1G9
                                                         PHONE - (587) 498-0880
       CANADA

                                                         MICHAEL LATIOLAIS
       ISC CONSTRUCTORS LLC
                                                         EVP & CFO
       20480 HIGHLAND ROAD
  27                                                     EMAIL - MICHAEL.LATIOLAIS@ISCGRP.COM                                 Trade Debt                                                                                       $        268,514
       BATON ROUGE, LA 70817-7347
                                                         PHONE - (225) 756-8001

     VESCO                                               LILLY STOTLAND
     16055 SW 12 MILE ROAD                               PRESIDENT & CEO
  28 P.O. BOX 525                                        EMAIL - LSTOTLAND@VESCOOIL.COM                                       Trade Debt                                                                                       $        261,331
     SOUTHFIELD, MI 48037-0525                           PHONE - (248) 557-1600

                                                         VERNON DANIELS
       NITRO-LIFT TECHNOLOGIES LLC
                                                         PRESIDENT
       8980 HIGHWAY 1 SOUTH
  29                                                     EMAIL - V.DANIELS@NITROLIFT.COM                                      Trade Debt                    Unliquidated                                                       $        257,581
       MILL CREEK, OK 74856
                                                         PHONE - (405) 360-3722

                                                         ANDY BLANDFORD
       KELVION PRODUCTS INC
                                                         CEO
       283 INDIAN RIVER ROAD
  30                                                     EMAIL - ANDY.BLANDFORD@KELVION.COM                                   Trade Debt                                                                                       $        249,000
       ORANGE, CT 06477
                                                         PHONE - (203) 795-0070




Official Form 204                                                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                      page 2
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    Fill in this information to identify the case and this filing:

   Debtor Name          Vertex Energy, Inc.

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders and Corporate Ownership Statement


    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       09/24/2024                                 /s/ R. Seth Bullock
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 R. Seth Bullock
                                                                                 Printed name
                                                                                 Chief Restructuring Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                    ACTION BY WRITTEN CONSENT
          OF THE BOARD OF DIRECTORS, BOARD OF MANAGERS,
        SOLE MANAGER, GENERAL PARTNER, OR SOLE MEMBER, AS
  APPLICABLE, OF EACH OF THE ENTITIES LISTED ON SCHEDULE I HERETO

                            UNANIMOUS WRITTEN CONSENT

                                      September 24, 2024

         The undersigned, being all the members of the respective board of directors, board of
managers, the sole manager, the general partner, the sole member, or other governing body
(each, an “Authorizing Body,” and collectively, the “Authorizing Bodies”) of each company
listed on the attached Schedule I (each, a “Company,” and collectively, the “Companies”),
hereby adopt and approve the following resolutions (the “Resolutions”) by written consent in
lieu of a meeting of their Authorizing Bodies, pursuant to each Company’s bylaws, limited
liability company agreement, limited partnership agreement, or similar governing document, as
applicable (collectively, the “Governing Documents”), and the applicable laws of each
jurisdiction in which each Company is organized or incorporated, as applicable. The
Authorizing Bodies do hereby approve, consent to, and adopt the following recitals and
Resolutions with the same force and effect as if they had been adopted at a duly convened
special meeting of each Authorizing Body.

        WHEREAS, the Authorizing Bodies, having reviewed and considered (a) entry into the
Restructuring Support Agreement, as defined herein, including all other exhibits, schedules,
attachments, and ancillary documents or agreements related thereto, providing for the
implementation of the Plan, as defined herein, consistent with the Restructuring Support
Agreement (as defined below) and related disclosures, (b) filing of that certain joint chapter 11
plan for the Companies, reflecting the terms set forth in the Restructuring Support Agreement (as
may be amended, modified, or supplemented from time to time, the “Plan”) and that certain
disclosure statement supporting the Plan (as may be amended, modified, or supplemented from
time to time, the “Disclosure Statement”) under the provisions of chapter 11 of title 11 of the
United States Code, 11 U.S.C. § 101 et seq. (as amended, the “Bankruptcy Code”), (c) entry into
and performance under the DIP Documents, as defined herein, (d) entry into and performance
under the Assurance and Amendment and Restatement Agreement, dated on or around
September 25, 2024 (“Assurance and Amendment and Restatement Agreement”), among Vertex
Refining Alabama LLC, Vertex Renewables Alabama LLC, and Vertex Energy, Inc. (together
with Vertex Refining Alabama LLC, Vertex Renewables Alabama LLC, the “Intermediation
Parties”) and Macquarie Energy North America Trading Inc., which amends the Supply and
Offtake Agreement, dated as of April 1, 2022 (as amended by the amendments to the Supply and
Offtake Agreement and certain other Transaction Documents (as defined therein) on each of
May 26, 2023, September 1, 2023, December 8, 2023, May 17, 2024, and May 23, 2024, and as
further amended by the Assurance and Amendment and Restatement Agreement, the “Supply
and Offtake Agreement”), among the Intermediation Parties and Macquarie Energy North
America Trading Inc., (e) entry into that certain Support Agreement between Vertex Refining
Alabama, LLC, Shell Trading (US) Company, and Equilon Enterprises LLC d/b/a Shell Oil
Products US (the “Shell Agreement”), (f) filing of voluntary petitions for relief for the
Companies under the Bankruptcy Code pursuant to applicable law and in accordance with the
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requirements of the Companies’ Governing Documents and applicable law (together with the
transactions contemplated by the Restructuring Support Agreement and incorporated in the Plan
and Disclosure Statement, the “Restructuring Matters”), and (g) retention of the professions, as
set forth herein, in the chapter 11 cases;

       WHEREAS, the Restructuring Support Agreement provides that it can be terminated if
the Authorizing Bodies determine, upon advice of counsel, that proceeding with the transactions
contemplated thereby would be inconsistent with the exercise of its fiduciary duties or applicable
law;

       WHEREAS, Jeffrey S. Stein, the independent and disinterested director of the Board
(the “Disinterested Director”) has determined and reported to the Board that, in the judgment of
the Disinterested Director, the following resolutions and the actions, transactions and
documentation contemplated thereby are advisable and in the best interests of the Company, its
stakeholders, its subsidiaries, its creditors and the other parties in interest, and has recommended
approval of the same by the Board;

        WHEREAS, the Authorizing Bodies have reviewed and considered the materials
presented by the management of the Companies and the Companies’ financial and legal advisors
(collectively, the “Restructuring Advisors”), and has had adequate opportunity to consult such
persons regarding the materials presented, obtain additional information, and to fully consider
each of the strategic alternatives available to the Companies;

        WHEREAS, the Authorizing Bodies have determined, in their business judgement, that
the following Resolutions are advisable and in the best interests of the Companies, their
creditors, their stakeholders, and other parties in interest; and

     NOW, THEREFORE, IT IS HEREBY RESOLVED, that, pursuant to the Governing
Documents, the Authorizing Bodies do hereby unanimously adopt the following Resolutions.

       THE RESTRUCTURING SUPPORT AGREEMENT, PLAN, DISCLOSURE
       STATEMENT, AND CHAPTER 11 FILING

        RESOLVED, that in the business judgment of the Authorizing Bodies, it is desirable and
in the best interest of each Company, its stakeholders, its creditors, and other parties in interest,
that each Company finalize, execute, and deliver that certain restructuring support agreement (as
may be amended, modified, or supplemented from time to time, the “Restructuring Support
Agreement”), subject to any necessary modifications and final negotiations consistent with these
Resolutions and, in accordance with the requirements in each Company’s Governing Documents
and the applicable laws of the jurisdiction in which such Company is organized, hereby consents
to, authorizes and approves, the entry into the Restructuring Support Agreement;

       FURTHER RESOLVED, that in the business judgment of the Authorizing Bodies, the
form, terms, and provisions of the Restructuring Support Agreement, the transactions
contemplated thereby, including any auction, sales process, merger, business combination,
reorganization, recapitalization, asset sale, equity sale, or other fundamental transaction
contemplated thereby, and all other documents, agreements, instruments, and/or certificates that
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have been, or will be, executed, delivered and/or filed under or in connection with the
Restructuring Support Agreement, including, but without limitation, the Definitive Documents
(as defined therein), be, and hereby are, in all respects, authorized and approved;

        FURTHER RESOLVED, that in the business judgment of the Authorizing Bodies, it is
desirable and in the best interests of the Companies, their stakeholders, their creditors, and other
parties in interest to finalize, execute, and deliver the Restructuring Support Agreement and all
other exhibits, schedules, attachments, and ancillary documents or agreements, subject to
necessary modifications and final negotiations, and the Companies’ performance of its
obligations thereunder;

        FURTHER RESOLVED, that in the business judgment of the Authorizing Bodies, it is
desirable and in the best interest of the Companies, their stakeholders, their creditors, and other
parties in interest that each Company file or cause to be filed the Plan and the Disclosure
Statement, and all other papers or documents (including any amendments) related thereto, and to
take any and all actions necessary or appropriate to file or cause to be filed the Plan and the
Disclosure Statement;

        FURTHER RESOLVED, that in the business judgment of the Authorizing Bodies, it is
desirable and in the best interest of the Companies, their stakeholders, their creditors, and other
parties in interest, that the Company files or causes to be filed voluntary petitions for relief
(the “Bankruptcy Petitions”) under the provisions of chapter 11 of the Bankruptcy Code in the
United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”), and
any other petition for relief or recognition or other order that may be desirable under applicable
law in the United States, and, in accordance with the requirements in each Company’s Governing
Documents and the applicable laws of the jurisdiction in which such Company is organized,
hereby consents to, authorizes and approves, the filing of the Bankruptcy Petitions; and

        FURTHER RESOLVED, that any directors or other duly appointed officers of the
Companies (collectively, the “Authorized Persons”), which shall include the Chief Restructuring
Officer, the Chief Executive Officer, Chief Financial Officer, General Counsel, any Executive
Vice President, or any Senior Vice President, shall be, and each of them individually hereby is,
authorized and directed for and on behalf of the Companies to take all actions (including, without
limitation, to negotiate and execute any documents, certificates, supplemental agreements, and
instruments) to act as signatory and attorney on behalf of the Companies in respect of the
Restructuring Matters and/or any persons to whom such Authorized Persons delegate certain
responsibilities, be, and hereby are, authorized to execute and file on behalf of the Companies all
petitions, schedules, lists, and other motions, papers, or documents, and to take any and all action
that they deem necessary or proper to obtain such relief, including, but not limited to, any action
necessary or proper to maintain the ordinary course operations of the Companies’ businesses.

       RETENTION OF PROFESSIONALS

       RESOLVED, that each of the Authorized Persons be, and hereby are, authorized,
empowered, and directed to employ on behalf of each Company: (a) the law firm of Kirkland &
Ellis LLP and Kirkland & Ellis International LLP as general bankruptcy counsel; (b) the law
firm of Bracewell LLP as co-bankruptcy counsel; (c) Perella Weinberg Partners LP, as
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investment banker; (d) Alvarez & Marsal North America, LLC as financial advisor;
(e) Kurtzman Carson Consultants, LLC d/b/a Verita Global, as claims and noticing agent; and
(f) any other legal counsel, accountants, financial advisors, restructuring advisors, or other
professionals the Authorized Persons deem necessary, appropriate, or advisable; each to
represent and assist each Company in carrying out its duties and responsibilities and exercising
its rights under the Bankruptcy Code and any applicable law (including, but not limited to, the
law firms filing any motions, objections, replies, applications, pleadings, or responses); and in
connection therewith, the Authorized Persons be and hereby are authorized, empowered, and
directed, in accordance with the terms and conditions hereof, to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed appropriate applications for
authority to retain such services; provided that Mr. Bullock, in his capacity as Chief
Restructuring Officer, shall not take the actions contemplated by the foregoing resolution with
respect to Alvarez & Marsal North America, LLC; and

        FURTHER RESOLVED, that each of the Authorized Persons be, and hereby are,
authorized, empowered, and directed to execute and file all petitions, schedules, motions, lists,
applications, pleadings, and other papers, and to perform such further actions and execute such
further documentation that the Authorized Persons in their absolute discretion deem necessary,
proper, appropriate, or desirable in accordance with the foregoing Resolutions.

       USE OF CASH COLLATERAL, DEBTOR IN POSSESSION FINANCING, AND
       ADEQUATE PROTECTION

        RESOLVED, that in the business judgment of the Authorizing Bodies, it is desirable and
in the best interest of the Companies, their stakeholders, their creditors, and other parties in
interest to obtain the benefits of (a) the use of cash collateral, as such term is defined in
section 363(a) of the Bankruptcy Code (the “Cash Collateral”), which is security for certain of
Vertex Refining Alabama LLC’s (the “Borrower”) prepetition secured lenders (the “Prepetition
Lenders”) under certain credit and intermediation facilities by and among the Borrower, the
guarantors party thereto, and the lenders party thereto; and (b) the incurrence of debtor in
possession financing obligations (the “DIP Financing”) by entering into that certain senior
secured superpriority debtor-in-possession delayed draw term loan facility, with certain of the
Prepetition Lenders and their administrative agent, Cantor Fitzgerald Securities (the “DIP
Facility”);

       FURTHER RESOLVED, that in order to use and obtain the benefits of DIP Financing
and Cash Collateral, and in accordance with section 363 of the Bankruptcy Code, the Companies
will provide certain adequate protection to the Prepetition Lenders (the “Adequate Protection
Obligations”) as documented in proposed interim and final orders (collectively, the “Financing
Orders”) to be submitted for approval of the Bankruptcy Court, and, to the extent that the
Companies are required to obtain consent from the Prepetition Lenders to enter into any of the
DIP Documents, as defined herein, such consent has been (or will be) obtained;

        FURTHER RESOLVED, that in the business judgment of the Authorizing Bodies, the
form, terms, and provisions of each of the instruments and documents governing the DIP Facility
listed below (collectively, the “DIP Documents”), and each Company’s execution, delivery and
performance of its obligations under the DIP Documents, including without limitation the grant
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of security interests under the DIP Documents, and any borrowings or guaranty therewith, be,
and hereby are, in all respects, authorized and approved:

     (a)     that certain senior secured super-priority debtor-in-possession loan and security
             entered into on or around September 25, 2024, by and among the Companies party
             thereto, as borrowers and guarantors, as applicable, Cantor Fitzgerald Securities, as
             administrative agent and collateral agent for the lenders, and the lenders party
             thereto (the “DIP Loan Agreement”);
     (b)     each other Loan Document (as such term is defined in the DIP Loan Agreement);
     (c)     the DIP Term Sheet;
     (d)     any security agreement or pledge agreement executed in connection with the
             DIP Facility;
     (e)     the Financing Orders; and
     (f)     all other certificates, instruments and documents executed or delivered to or in favor
             of any of the DIP Lenders (as defined in the DIP Documents) or agent under the
             DIP Facility in connection with the loans made and transactions contemplated under
             the DIP Documents, as the same may be amended, supplemented or replaced from
             the time to time;

      FURTHER RESOLVED, that to the extent applicable, the Companies shall be, and are
hereby, authorized to enter into the DIP Documents and incur the obligations thereunder
(the “DIP Obligations”), and each of the Authorized Persons be, and hereby are, authorized,
empowered, and directed in the name of, and on behalf of, the Companies to execute deliver, and
perform all of the obligations and the transactions contemplated under each of the
DIP Documents in the name and on behalf of the Companies, with such immaterial changes,
additions, and modifications thereto as such Authorized Person shall approve, with such approval
to be conclusively evidenced by such Authorized Person’s execution and delivery thereof;

      FURTHER RESOLVED, that each of the Authorized Persons be, and hereby are,
authorized, in the name and on behalf of the Companies, to take all such further actions, or cause
all such further actions to be taken and to execute and deliver all such further agreements,
documents, instruments, certificates recordings, and filings, in the name and on behalf of the
Companies, as in the determination of such Authorized Person shall be necessary, proper, or
advisable in order to fully carry out the intent and accomplish the purposes of the foregoing
Resolutions and to consummate the transactions contemplated thereby, such authority to be
conclusively evidenced by the execution of any document or the taking of any such action by
such Authorized Person;

      FURTHER RESOLVED, that each of the Authorized Persons be, and hereby are,
authorized, in the name and on behalf of the Companies, to enter into any guarantees as
described or contemplated by the DIP Documents or any other documents, certificates,
instruments, agreements, intercreditor agreements, any extension amendment, any incremental
agreement, or any other amendment required to consummate the transactions contemplated by
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the DIP Documents and perform its obligations thereunder and to guarantee the payment and
performance of the DIP Obligations of the Companies;

      FURTHER RESOLVED, that each of the Authorized Persons be, and hereby are,
authorized, empowered, and directed in the name of, and on behalf of, the Companies to seek
authorization to incur the DIP Obligations and approval to use Cash Collateral pursuant to the
Financing Orders, and any Authorized Person be, and hereby is, authorized, empowered, and
directed to negotiate, execute, and deliver any and all agreements, instruments, or documents, by
or on behalf of the Companies, necessary to implement the postpetition financing, including the
Adequate Protection Obligations to the Prepetition Lenders in accordance with section 363 of the
Bankruptcy Code, as well as any additional or further agreements for entry into the DIP
Documents and the use of Cash Collateral in connection with the chapter 11 case, which
agreements may require the Companies to grant adequate protection and liens to the Prepetition
Lenders and each other agreement, instrument, or document to be executed and delivered in
connection therewith, by or on behalf of the Companies pursuant thereto or in connection
therewith, all with such changes therein and additions thereto as any Authorized Person
approves, such approval to be conclusively evidenced by the taking of such action or by the
execution and delivery thereof;

      FURTHER RESOLVED, that each of the Authorized Persons be, and hereby are,
authorized, directed, and empowered, in the name of, and on behalf of, the Companies to take
such actions and negotiate or cause to be prepared and negotiated and to execute, deliver,
perform, and cause the performance of, each of the transactions contemplated by the
DIP Documents and such other agreements, certificates, instruments, receipts, petitions, motions,
or other papers or required documents to which the Companies are or will be party or any order
entered into in connection with the chapter 11 case (together with the DIP Documents and the
Financing Orders, collectively, the “Financing Documents”) and to incur and pay or cause to be
paid all related fees and expenses, with such changes, additions and modifications thereto as an
Authorized Person executing the same shall approve;

        FURTHER RESOLVED, that the Companies, as debtors and debtors in possession
under the Bankruptcy Code be, and hereby are, authorized, empowered, and directed to incur any
and all obligations and to undertake any and all related transactions on substantially the same
terms as contemplated under the Financing Documents, including granting liens on their assets to
secure such obligations; and

        FURTHER RESOLVED, that each of the Authorized Persons be, and hereby are,
authorized, empowered, and directed in the name of, and on behalf of, the Companies, to execute
and deliver any amendments, supplements, modifications, renewals, replacements,
consolidations, substitutions, and extensions of the postpetition financing or any of the Financing
Documents or to do such other things which shall in his or her sole business judgment be
necessary, desirable, proper, or advisable in order to perform the DIP Obligations and to give
effect to the foregoing Resolutions, which determination shall be conclusively evidenced by his
or her or their execution thereof.
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       AMENDED SUPPLY                AND      OFFTAKE        AGREEMENT           AND      SHELL
       AGREEMENT

        RESOLVED, that in the business judgment of the Authorizing Bodies, it is desirable and
in the best interest of the Intermediation Parties, their stakeholders, their creditors, and other
parties in interest to continue to perform under and obtain the benefits of the Supply and Offtake
Agreement and the other Transaction Documents (as defined in the Supply and Offtake
Agreement) by entering into the Assurance and Amendment and Restatement Agreement and
Shell Agreement, as documented in the proposed interim and final intermediation orders
(collectively, the “Intermediation Orders”) to be submitted for approval of the Bankruptcy Court;
and

        FURTHER RESOLVED, that in the business judgment of the Authorizing Bodies, the
form, terms, and provisions of each of the instruments and documents governing the Supply and
Offtake Agreement and the other Transaction Documents (as defined in the Supply and Offtake
Agreement) listed below (collectively, the “Intermediation Documents”), and each
Intermediation Party’s execution, delivery and performance of its obligations under the
Intermediation Documents and the Shell Agreement, including without limitation, the grant of
security interests under the Intermediation Documents, and any borrowings or guaranty
therewith, be, and hereby are, in all respects, authorized and approved:

     (a)     the Assurance and Amendment and Restatement Agreement;
     (b)     the Shell Agreement;
     (c)     the Intermediation Orders; and
     (d)     all other certificates, instruments and documents executed or delivered to or in favor
             of any of Macquarie Energy North America Trading Inc. in connection with the
             loans made and transactions contemplated under the Intermediation Documents, as
             the same may be amended, supplemented or replaced from the time to time.
      FURTHER RESOLVED, that to the extent applicable, the Intermediation Parties shall be,
and are hereby, authorized to enter into the Intermediation Documents and the Shell Agreement
and incur the obligations thereunder (the “Intermediation Obligations”), and each of the
Authorized Persons be, and hereby are, authorized, empowered, and directed in the name of, and
on behalf of, the Intermediation Parties to execute deliver, and perform all of the obligations and
the transactions contemplated under each of the Intermediation Documents in the name and on
behalf of the Intermediation Parties, with such immaterial changes, additions, and modifications
thereto as such Authorized Person shall approve, with such approval to be conclusively
evidenced by such Authorized Person’s execution and delivery thereof;

      FURTHER RESOLVED, that each of the Authorized Persons be, and hereby are,
authorized, in the name and on behalf of the Intermediation Parties, to take all such further
actions, or cause all such further actions to be taken and to execute and deliver all such further
agreements, documents, instruments, certificates recordings, and filings, in the name and on
behalf of the Intermediation Parties, as in the determination of such Authorized Person shall be
necessary, proper, or advisable in order to fully carry out the intent and accomplish the purposes
of the foregoing Resolutions and to consummate the transactions contemplated thereby, such
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authority to be conclusively evidenced by the execution of any document or the taking of any
such action by such Authorized Person;

       FURTHER RESOLVED, that each of the Authorized Persons be, and hereby are,
authorized, in the name and on behalf of the Intermediation Parties, to enter into any guarantees
as described or contemplated by the Intermediation Documents or any other documents,
certificates, instruments, agreements, intercreditor agreements, any extension amendment, any
incremental agreement, or any other amendment required to consummate the transactions
contemplated by the Intermediation Documents or the Shell Agreement and perform its
obligations thereunder and to guarantee the payment and performance of the Intermediation
Obligations of the Intermediation Parties;

       FURTHER RESOLVED, that each of the Authorized Persons be, and hereby are,
authorized, empowered, and directed in the name of, and on behalf of, the Intermediation Parties
to seek authorization to incur the Intermediation Obligations and the obligations arising under
the Shell Agreement pursuant to the Intermediation Orders, and any Authorized Person be, and
hereby is, authorized, empowered, and directed to negotiate, execute, and deliver any and all
agreements, instruments, or documents, by or on behalf of the Intermediation Parties, necessary
to implement the postpetition intermediation financing, including any additional or further
agreements for entry into the Intermediation Documents and the Shell Agreement in connection
with the chapter 11 case, and each other agreement, instrument, or document to be executed and
delivered in connection therewith, by or on behalf of the Intermediation Parties pursuant thereto
or in connection therewith, all with such changes therein and additions thereto as any Authorized
Person approves, such approval to be conclusively evidenced by the taking of such action or by
the execution and delivery thereof;

       FURTHER RESOLVED, that each of the Authorized Persons be, and hereby are,
authorized, directed, and empowered, in the name of, and on behalf of, the Intermediation Parties
to take such actions and negotiate or cause to be prepared and negotiated and to execute, deliver,
perform, and cause the performance of, each of the transactions contemplated by the
Intermediation Documents and such other agreements, certificates, instruments, receipts,
petitions, motions, or other papers or required documents to which the Intermediation Parties are
or will be party or any order entered into in connection with the chapter 11 case (together with
the Intermediation Documents and the Intermediation Orders, collectively, the “Intermediation
Facility Documents”) and to incur and pay or cause to be paid all related fees and expenses, with
such changes, additions and modifications thereto as an Authorized Person executing the same
shall approve;

        FURTHER RESOLVED, that the Intermediation Parties, as debtors and debtors in
possession under the Bankruptcy Code be, and hereby are, authorized, empowered, and directed
to incur any and all obligations and to undertake any and all related transactions on substantially
the same terms as contemplated under the Intermediation Facility Documents, including granting
liens on their assets to secure such obligations;

       FURTHER RESOLVED, that the Intermediation Parties, as debtors and debtors in
possession under the Bankruptcy Code be, and hereby are, authorized, empowered, and directed
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to enter into one or more agreements, which provide for an interest rate, credit, commodity or
equity swap, cap, floor, collar, forward foreign exchange transaction, currency swap, cross
currency rate swap, currency option, securities puts, calls, collars, options or forwards or any
combination of, or option with respect to, these or similar transactions, which agreements may be
oral or in writing (collectively, “Hedging Agreements”) and to execute and deliver any master
agreement and the related schedule, confirmation or other agreement or certificate as the
counterparty thereto, may require relating to such Hedging Agreements; and

        FURTHER RESOLVED, that each of the Authorized Persons be, and hereby are,
authorized, empowered, and directed in the name of, and on behalf of, the Companies, to execute
and deliver any amendments, supplements, modifications, renewals, replacements,
consolidations, substitutions, and extensions of the postpetition intermediation financing or any
of the Intermediation Facility Documents or to do such other things which shall in his or her sole
business judgment be necessary, desirable, proper, or advisable in order to perform the
Intermediation Obligations and to give effect to the foregoing Resolutions, which determination
shall be conclusively evidenced by his or her or their execution thereof.

       GENERAL AUTHORIZATION

       RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Persons, the Authorized Persons (and their designees and delegates), either
individually or as otherwise required by each Company’s Governing Documents and applicable
law, be, and each of them hereby is, authorized to execute, acknowledge, deliver, and file any
and all agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds
and other documents on behalf of the Companies relating to the Restructuring Matters;

        FURTHER RESOLVED, that each of the Authorized Persons (and their designees and
delegates) be, and hereby is, authorized and empowered, in the name of and on behalf of the
Companies, to take or cause to be taken any and all such other and further action, and to execute,
acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other
documents and to pay all expenses, including but not limited to filing fees, in each case as in
such Authorized Person’s or Authorized Persons’ absolute discretion, shall be necessary,
appropriate, or desirable in order to fully carry out the intent and accomplish the purposes of the
resolution adopted herein;

        FURTHER RESOLVED, that the Authorizing Bodies have received sufficient notice of
the actions and transactions relating to the matters contemplated by the foregoing Resolutions, as
may be required by the Governing Documents of the Companies, or hereby waive any right to
have received such notice;

        FURTHER RESOLVED, that all acts, actions, and transactions relating to the matters
contemplated by the foregoing Resolutions done in the name of and on behalf of the Companies,
which acts would have been approved by the foregoing Resolutions except that such acts were
taken before the adoption of these Resolutions, are hereby in all respects approved, confirmed
and ratified as the true acts and deeds of the Companies with the same force and effect as if each
such act, transaction, agreement, or certificate had been specifically authorized in advance by
resolution of the Authorizing Bodies; and
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        FURTHER RESOLVED, that any Authorized Person (and their designees and
delegates) be, and each of them hereby is, authorized to do all such other acts, deeds and other
things as the Companies itself may lawfully do, in accordance with their Governing Documents
and applicable law, howsoever arising in connection with the matters above, or in furtherance of
the intentions expressed in the foregoing Resolutions, including, but not limited to, the
negotiation, finalization, execution and delivery of any other agreements, certificates,
instruments, powers of attorney, letters, forms, transfer, deeds and other documents whatsoever
as the individual acting may in his/her absolute and unfettered discretion approve, deem or
determine necessary, appropriate or advisable, such approval, deeming or determination to be
conclusively evidenced by said individual taking such action or the execution thereof.
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                                        Schedule I

Vertex Energy, Inc.
Vertex Energy Operating, LLC
Vertex Splitter Corporation
Vertex Refining LA, LLC
Vertex Refining Myrtle Grove LLC
Crystal Energy, LLC
Vertex Merger Sub, LLC
Vertex Refining Alabama LLC
Vertex Recovery Management, LLC
Vertex Refining NV, LLC
Vertex II GP, LLC
Vertex Acquisition Sub, LLC
Bango Oil LLC
Vertex Recovery, L.P.
Crossroad Carriers, L.P.
Cedar Marine Terminals, LP
H & H Oil, L. P.
Tensile-Myrtle Grove Acquisition Corporation
HPRM LLC
Tensile-Heartland Acquisition Corporation
Vertex Marine Fuel Services LLC
Vertex Refining Texas LLC
Vertex Renewables LLC
Vertex Renewables Alabama LLC
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                    Case 24-90507 Document 1 Filed in TXSB on 09/24/24 Page 23 of 34



                    IN WITNESS WHEREOF, the undersigned have executed this unanimous written
            consent as of the date first set forth above. This unanimous written consent may be signed by
            facsimile or other electronic means, with any such signature being of the same force and
            effect as an original signature, and in multiple counterparts, all of which will constitute one
            document.



                                                       VERTEX ENERGY, INC.



                                                                  Name: Benjamin P. Cowart
                                                                  Title: Director



                                                                  Name: Dan Borgen
                                                                  Title: Director



                                                                  Name: Karen Maston
                                                                  Title: Director



                                                                  Name: Timothy C. Harvey
                                                                  Title: Director



                                                                  Name: Oden Khoury
                                                                  Title: Director



                                                                  Name: Jeffrey S. Stein
                                                                  Title: Director




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                   Case 24-90507 Document 1 Filed in TXSB on 09/24/24 Page 24 of 34



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                                                      VERTEX ENERGY, INC.



                                                                 Name: Benjamin P. Cowart
                                                                 Title: Director



                                                                 Name: Dan Borgen
                                                                 Title: Director



                                                                 Name: Karen Maston
                                                                 Title: Director



                                                                 Name: Timothy C. Harvey
                                                                 Title: Director



                                                                 Name: Oden Khoury
                                                                 Title: Director



                                                                 Name: Jeffrey S. Stein
                                                                 Title: Director




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                      Case 24-90507 Document 1 Filed in TXSB on 09/24/24 Page 25 of 34




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                                                       BANGO OIL LLC

                                                              By: Vertex Refining NV, LLC, its Manager



                                                              By:
                                                                    Name: Benjamin P. Cowart
                                                                    Title: President & Chief Executive Officer




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                                                       VERTEX ENERGY OPERATING, LLC

                                                             By: Vertex Energy, Inc., its Sole Manager


                                                             By:
                                                                   Name: Benjamin P. Cowart
                                                                   Title: President & Chief Executive Officer




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                                                       VERTEX RECOVERY, L.P.
                                                       CROSSROAD CARRIERS, L.P.
                                                       CEDAR MARINE TERMINALS, LP
                                                       H&H OIL, L.P.

                                                              By: Vertex II GP, LLC, its General Partner



                                                              By:
                                                                    Name: Benjamin P. Cowart
                                                                    Title: President & Chief Executive Officer




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                                                              TENSILE-HEARTLAND ACQUISITION
                                                              CORPORATION




                                                                      Name: Benjamin P. Cowart
                                                                      Title: Director




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                                                              TENSILE-MYRTLE GROVE ACQUISITION
                                                              CORPORATION




                                                                      Name: Benjamin P. Cowart
                                                                      Title: Director




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                                                       VERTEX RENEWABLES ALABAMA LLC

                                                              By: Vertex Renewables LLC, its Sole Member and
                                                                  Sole Manager



                                                              By:
                                                                    Name: Benjamin P. Cowart
                                                                    Title: President & Chief Executive Officer




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                                                       VERTEX RENEWABLES LLC

                                                              By: Vertex Refining Alabama LLC, its Sole
                                                                  Member



                                                              By:
                                                                    Name: Benjamin P. Cowart
                                                                    Title: President & Chief Executive Officer




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                                                              VERTEX SPLITTER CORPORATION




                                                                      Name: Benjamin P. Cowart
                                                                      Title: Director




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                                                             HPRM LLC



                                                             By: Vertex Energy Operating, LLC, as Member and as
                                                                 Manager


                                                             By:
                                                                   Name: Benjamin P. Cowart
                                                                   Title: President & Chief Executive Officer



                                                             By: Vertex Splitter Corporation, as Member



                                                             By:
                                                                   Name: Benjamin P. Cowart
                                                                   Title: Director



                                                             By: Tensile-Heartland Acquisition Corporation, as
                                                                 Member



                                                             By:
                                                                   Name: Benjamin P. Cowart
                                                                   Title: President & Chief Executive Officer
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                                                       VERTEX REFINING LA, LLC
                                                       VERTEX REFINING MYRTLE GROVE LLC
                                                       CRYSTAL ENERGY, LLC
                                                       VERTEX MERGER SUB, LLC
                                                       VERTEX REFINING ALABAMA LLC
                                                       VERTEX RECOVERY MANAGEMENT, LLC
                                                       VERTEX REFINING NV, LLC
                                                       VERTEX II GP, LLC
                                                       VERTEX ACQUISITION SUB, LLC
                                                       VERTEX MARINE FUEL SERVICES LLC
                                                       VERTEX REFINING TEXAS LLC

                                                              By: Vertex Energy Operating, LLC, its Sole
                                                                  Member, Sole Manager, or Manager, as
                                                                  applicable


                                                              By:
                                                                    Name: Benjamin P. Cowart
                                                                    Title: President & Chief Executive Officer




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